319 F.2d 956
    UNITED STATES of America, Appellee,v.Santiago DE FILLO, Petitioner-Appellant.
    No. 383.
    Docket 28057.
    United States Court of Appeals Second Circuit.
    Submitted June 11, 1963.
    Decided June 28, 1963.
    
      Robert J. McGuire and Arthur I. Rosett, Asst. U. S. Attys. (Robert M. Morgenthau, U. S. Atty., for the Southern District of New York, New York City, on the brief), for appellee.
      Santiago De Fillo, pro se.
      Before MOORE, HAYS and MARSHALL, Circuit Judges.
      PER CURIAM.
    
    
      1
      This is an appeal from an order of the district court refusing to set aside an order of another district court judge which denied a motion under 28 U.S.C. § 2255 to vacate and set aside appellant's judgment and conviction. The grounds urged by the petitioner are the same ones that he has urged in at least nine prior petitions for the same relief, each of which has been rejected. In these circumstances, it was not necessary to hold a hearing, and denial of the relief requested was proper. The record conclusively shows that the claim of misrepresentation by the prosecutor is not well founded and that petitioner is entitled to no relief.
    
    
      2
      Affirmed.
    
    